              Case 17-14249-BFK                   Doc 1     Filed 12/15/17 Entered 12/15/17 11:57:40                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aero-X Golf, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Polara Golf
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  PO Box 2092
                                  Merrifield, VA 22116
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfax                                                        Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 Anne Kaczala, Sr. Customer Development
                                                                                                 Executive
                                                                                                 Iron Mountain Fulfilment Services, Inc.
                                                                                                 1242 South River Rd. Cranbury, NJ 08512
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.polaragolf.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Aero-X Golf, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3949

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                 Case number
                                                 District                                  When                                 Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                  When                             Case number, if known




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Debtor   Aero-X Golf, Inc.                                                                         Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Aero-X Golf, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      12/13/2017
                                                   MM / DD / YYYY


                              X   /s/ Steven Lebischak                                                     Steven Lebischak
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Chief Executive




18. Signature of attorney     X   /s/ Stephen A. Metz                                                       Date 12/15/2017
                                  Signature of attorney for debtor                                               MM / DD / YYYY

                                  Stephen A. Metz, Esquire
                                  Printed name

                                  Offit Kurman, P.A.
                                  Firm name

                                  4800 Montgomery Lane, 9th Floor
                                  Bethesda, MD 20814
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     240-507-1723                  Email address      smetz@offitkurman.com

                                  89738, VA
                                  Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Creditor Matrix

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 13, 2017                       X /s/ Steven Lebischak
                                                                       Signature of individual signing on behalf of debtor

                                                                       Steven Lebischak
                                                                       Printed name

                                                                       Chief Executive
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 17-14249-BFK                         Doc 1      Filed 12/15/17 Entered 12/15/17 11:57:40                                          Desc Main
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 Fill in this information to identify the case:
 Debtor name Aero-X Golf, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF VIRGINIA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Action Media Inc                                                                                                                                                           $9,000.00
 4665 Red Deer Trail
 Broomfield, CO
 80020
 Bellatrix PC                                                                           Disputed                                                                          $18,279.66
 5405 Morehouse Dr.,
 Suite 110
 San Diego, CA
 92121
 Bruce Pettibone                                                                                                                                                            $5,000.00
 Consulting
 2633 Ocean St #2
 Carlsbad, CA 92008
 David Felker                                                    judgment                                                                                             $1,282,348.97
 20844 Wild Willow
 Hollow
 Escondido, CA
 92029
 Foremost Golf                                                                                                                                                        $1,000,000.00
 Manufacturing
 No. 5 Kegong 8th Rd
 Touliu City, Yunlin
 County 640
 Taiwan (R.O.C)
 Golfer's First                                                                                                                                                             $7,027.28
 Technologies
 3444 Silverlake Ct.
 Jamestown, NC
 27282
 Hye Precision                                                                                                                                                              $3,031.78
 Products
 745 Carroll Street
 Perry, GA 31069
 IP Data                                                                                                                                                                    $2,329.00
 704 W Park Ave
 Suite C
 Edgewater, FL
 32132-1409

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Aero-X Golf, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Just Add                                                                                                                                                                   $7,208.34
 Technology
 Solutions
 PO Box 2092
 Merrifield, VA 22116
 McCarthy, Burgess,                                                                                                                                                         $5,762.77
 Wolff
 26000 Cannon Road
 Bedford, OH 44146
 Miranda &                                                                                                                                                                  $2,345.00
 Associates
 1595 South Mission
 Road
 Fallbrook, CA 92028
 Miranda CFO                                                                            Disputed                                                                        $101,162.50
 Services, Inc.
 1595 South Mission
 Rd
 Fallbrook, CA 92028
 MLG Automotive                                                                         Disputed                                                                          $21,061.62
 Law
 2801 W. Coast
 Hiighway
 Suite 370
 Newport Beach, CA
 92663
 Novus Media Inc.                                                                                                                                                         $96,043.52
 PO Box 86
 Minneapolis, MN
 55486-0664
 Pijush Dewanjee                                                                        Disputed                                                                            $6,173.75
 3746 Saddle Dr.
 Carlsbad, CA 92010
 Procopio, Cory,                                                                                                                                                        $400,000.00
 Hargreaves
 & Savitch LLP
 12544 High Bluff
 Drive, #300
 San Diego, CA
 92130
 QSControl Corp                                                                                                                                                           $14,000.00
 No.39, Jing 3 Rd,
 C.E.P.Z
 Wuchi, 04
 Taichung City,
 Taiwan 435
 The Golf Shop -                                                                                                                                                            $3,083.35
 James Love
 2768 Loker Avenue
 Suite 100
 Carlsbad, CA 92010



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Aero-X Golf, Inc.                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 The McLean Group                                                                                                                                                           $6,625.00
 7918 Jones Branch
 Dr #750
 Mc Lean, VA 22102
 The Media Group                                                                                                                                                            $7,500.00
 848 West Bartlett
 Road, #10E
 Bartlett, IL 60103




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                        11 Bridges (Jason Landers)
                        2211 SE 76th Ave
                        Portland, OR 97215


                        Action Media Inc
                        4665 Red Deer Trail
                        Broomfield, CO 80020


                        AFCO Insurance Premium Finance
                        5600 N. River Road Ste 400
                        Des Plaines, IL 60018-5187


                        Alexander Smits
                        37 Wheatsheaf Lane
                        Princeton, NJ 08540


                        Andrew H. Gesek
                        25 Wynnedwood Drive
                        Collegeville, PA 19426


                        Antonelli, Terry, Stout
                        1300 North Seventeenth Street
                        Suite 1800
                        Arlington, VA 22209


                        Bellatrix PC
                        5405 Morehouse Dr., Suite 110
                        San Diego, CA 92121


                        Bert Galleno
                        Gravity Capital
                        186 Collins Street
                        San Francisco, CA 94118


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                        c/o Erwin J. Shustak, Esq.
                        401 West “A” Street, Ste 2250
                        San Diego, CA 92101


                        Beverly Brito FBO Bud Misfelt
                        c/o Erwin J. Shustak, Esq.
                        401 West “A” Street, Ste 2250
                        San Diego, CA 92101
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                    Bill Behrens
                    1721 Bowline Dr
                    Mount Pleasant, SC 29466


                    Bruce Pettibone Consulting
                    2633 Ocean St #2
                    Carlsbad, CA 92008


                    Cara McGinnis
                    5976 N. 83rd St.
                    Scottsdale, AZ 85250


                    Carl Patzer
                    c/o Erwin J. Shustak, Esq.
                    401 West “A” Street, Ste 2250
                    San Diego, CA 92101


                    Catherine & Robert Morris TTEE
                    c/o Erwin J. Shustak, Esq.
                    401 West “A” Street, Ste 2250
                    San Diego, CA 92101


                    Catherine Morris
                    c/o Erwin J. Shustak, Esq.
                    401 West “A” Street, Ste 2250
                    San Diego, CA 92101


                    Chris Holiday
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    Chris Vehring
                    21071 Winchester Drive
                    Trabuco Canyon, CA 92679


                    Cole Burr
                    Burrtec, 9820 Cherry Ave.
                    Fontana, CA 92335


                    Commonwealth of Virginia
                    State Corp Comm
                    PO Box 7607
                    Merrifield, VA 22116-7607
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                    Cora Vaden
                    22 West Washington St.
                    Carson City, NV 89703


                    Craig Sapin
                    c/o Chris Holiday
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    Curt Beyer
                    500 La Terraza Blvd., Ste. 150
                    Escondido, CA 92025


                    Cynthia Gordon
                    500 La Terraza Blvd., Ste. 150
                    Escondido, CA 92025


                    David Felker
                    20844 Wild Willow Hollow
                    Escondido, CA 92029


                    deBary Partners
                    1012 Brentwood Lane
                    Brentwood, TN 37027


                    Donnie Hammond
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    Doug Winfield
                    1 Carriage Hill
                    Madison, AL 35758


                    Dr. Rocky Lee
                    26A Luna Gardens, Rockwell Ctr
                    Makati, Metro Manila
                    1229 Philippines


                    DW Sports Group
                    310 South Nina Drive, Ste 1
                    Mesa, AZ 85210
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                    Earl Saxman
                    Foremost Golf MRG, LTD.
                     2F No. 16, Lane 35, Ji-Hu Rd
                    Taipei, Taiwan


                    Edie Felker
                    20844 Wild Willow Hollow
                    Escondido, CA 92029-4903


                    Edward Burr
                    Burrtec
                    9820 Cherry Ave.
                    Fontana, CA 92335


                    EGJ, LLC
                    c/o Erwin J. Shustak, Esq.
                    401 West “A” Street, Ste 2250
                    San Diego, CA 92101


                    Erlene G Gardiner Trust
                    c/o Erwin J. Shustak, Esq.
                    401 West “A” Street, Ste 2250
                    San Diego, CA 92101


                    Executive Financial Enterprise
                    1626 N Wilcox AVE, Box 680
                    Los Angeles, CA 90028


                    Fifth Axis CNC
                    5th Axis CNC
                    7140 Engineer Road
                    San Diego, CA 92111


                    Foremost Golf Manufacturing
                    No. 5 Kegong 8th Rd
                    Touliu City, Yunlin County 640
                    Taiwan (R.O.C)


                    Foremost Golf Manufacturing
                    2Fl, No. 16, Lane 35, Ji-Hu Rd
                    Taipei 11492
                    Taiwan, R.O.C.


                    Franchise Tax Board
                    PO Box 942857
                    Sacramento, CA 94257-0531
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                    Gerald Baker
                    11550 Caminito Garcia
                    San Diego, CA 92131


                    Gertrude Bronner
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    Golf Talk Radio
                    900 Salida Del Sol Drive
                    Paso Robles, CA 93446


                    Golfer's First Technologies
                    3444 Silverlake Ct.
                    Jamestown, NC 27282


                    Gravity Capital
                    Humberto Galleno
                    186 Collins Street
                    San Francisco, CA 94118


                    Hammacher Schlemmer INC
                    9307 N Milwaukee Ave
                    Saint Charles, IL 60174


                    Harry Kaiser
                    17 Chase Lane
                    Ithaca, NY 14850


                    Hye Precision Products
                    745 Carroll Street
                    Perry, GA 31069


                    Hyung J. Bak
                    9 Springville Way
                    Mount Laurel, NJ 08054


                    IP Data
                    704 W Park Ave Suite C
                    Edgewater, FL 32132-1409


                    James Bosworth
                    4 Apple Lane
                    Simsbury, CT 06070
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                    James Mashburn
                    7145 Via Maraposa Sur
                    Bonsall, CA 92003


                    James P. Koch, Esq.
                    Law Offices of James P. Koch
                    1101 St. Paul Street
                    Baltimore, MD 21202


                    Jeff Guzy
                    3130 19th Street
                    Arlington, VA 22201


                    Jim Carlson
                    6691 North Avenida
                    de las Palaza
                    Tucson, AZ 85750


                    John Bollero
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    John C. Blocher
                    3681 Camino Del Pilar
                    Escondido, CA 92025


                    John Chu
                    3444 Silverlake Ct.
                    Jamestown, NC 27282


                    John Crawford
                    212 Arrowhead Way
                    Clinton, NY 13323


                    John Daly
                    6701 College Drive. Suite 150
                    Suffolk, VA 23435


                    John McGinnis
                    4333 E. Hashknife Rd.
                    Phoenix, AZ 85050


                    John Ruby
                    635 Whipperwill Lane
                    Stratford, CT 06614
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                    John Snow
                    15735 Highland Valley Rd
                    Escondido, CA 92025


                    Joseph Gray
                    40550 Calle Cancion
                    Temecula, CA 92592


                    Just Add Technology Solutions
                    PO Box 2092
                    Merrifield, VA 22116


                    Karen Black, Sep Prop Tr dtd
                    12624 Carmel Country Road, #82
                    San Diego, CA 92130


                    Karen Weseloh
                    6250 Mimulus
                    Rancho Santa Fe, CA 92067


                    Kennel-Winograd
                    3591 Princeton Ave
                    San Diego, CA 92117


                    Kenneth Shropshire
                    7100 Wayne Ave.
                    Philadelphia, PA 19119


                    Larry Dorman
                    85 Via Larga Vista
                    Bonsall, CA 92003


                    Leslie Benning
                    239 East 93rd Street
                    New York, NY 10128


                    Liberty Mutual Insurance
                    P. O. Box 85834
                    San Diego, CA 92186-5834


                    Life After 50
                    50 S. De Lacey Ave. Suite 200
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                                                               United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Aero-X Golf, Inc.                                                                              Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Aero-X Golf, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 12/15/2017                                                            /s/ Stephen A. Metz
 Date                                                                  Stephen A. Metz, Esquire
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